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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY



MONTVALE SURGICAL CENTER,                                 :
                                                          :   CIVIL 2:12-CV-4173 (SRC-CLW)
                                                          :
                                                          :   ARB:[No]
                                        Plaintiff,        :
                  v.                                      :   ORDER FOR SCHEDULING
                                                          :   CONFERENCE
                                                          :
                                                          :
HORIZON BLUE CROSS/SHIELD                                :
                                                          :
                                    Defendant.            :
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         To: All Counsel

         IT IS on this 2nd Day of August, 2012;

                  ORDERED, pursuant to Fed. R. Civ. P. 16, that a scheduling conference be

held before the Honorable Cathy L. Waldor, on 8/28/12 at 12:00 PM in Courtroom 4C at

the United States Courthouse, Newark, New Jersey, and it is further

                  ORDERED THAT (1) Prior to the above conference, all counsel, including

individuals who are appearing on his/her own behalf (or “Pro Se”), confer to agree on a

joint discovery plan. SEE LOCAL CIVIL RULE 26.1(b); (2) Not later than seven (7)

days prior to the above conference, the joint discovery plan, and any disputes regarding it

be submitted to the undersigned. SEE LOCAL CIVIL RULE 26.1(b); This joint discovery

plan should NOT be electronically filed; (3) At the above conference, all parties who are

not appearing pro se be represented by counsel who shall have full authority to bind their

clients in all pretrial matters. SEE LOCAL CIVIL RULE 16.1(a); (4) Plaintiff(s) notify
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any party who hereafter enters an appearance of the above conference and forward to that

party a copy hereof; (5) The parties are to advise the Honorable Cathy L. Waldor

immediately if this action has been settled or terminated so that the above conference may

be cancelled.

       Finally, counsel and litigants are advised that, pursuant to Fed. R. Civ. P. 26, 30

and 33 early disclosure requirements and limitations on depositions/interrogatories will be

enforced. Therefore, pursuant to the early disclosure requirements, counsel shall

exchange the following information without formal discovery requests:

                (i)     identities of individuals with knowledge of disputed facts;

                (ii)    documents and things in the possession of counsel or the parties

                        regarding the disputed issues;

                (iii)   insurance agreements in force; and

                (iv)    statement of the basis for any damages claimed;

       and it is further

       ORDERED that the meeting of parties required by Fed. R. Civ. P. 26(f) shall take

place fourteen (14) days prior to the date of the initial conference; and it is further

       ORDERED that upon the entry of appearance of any new and/or additional counsel

subsequent to the date of this Order, plaintiff’s counsel shall send a copy of this

Scheduling Order to the newly appearing attorneys(s), but on any third party claim, the

counsel for the third party plaintiff shall send a copy of this Order to the newly entering

counsel for third party defendant(s); and it is further

       ORDERED that all parties shall confer to agree and submit a JOINT DISCOVERY

PLAN to the Judge no less than seven (7) days prior to the above-stated conference date,
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as required by Local Civil Rule 26.1(b) of this Court. The conference date should appear

on the caption of the Joint Discovery Plan, which shall include at a minimum, the

following items: (1) a brief factual statement of the claims or defenses in the action, as well

as a brief statement of the legal issues in the case; (2) a description of all discovery

conducted by the parties to date; (3) a description of all discovery problems encountered to

date, the efforts undertaken by the parties to remedy these problems, and the parties

suggested resolution of the problems; (4) a description of the parties further discovery

needs; (5) the parties estimate of the time needed to complete discovery; (6) a statement

regarding whether expert testimony will be necessary, and the parties anticipated schedule

for retention of experts and submission of their reports; (7) a statement regarding whether

there should be any limitation placed upon use of any discovery device and, if so, the

reasons the limitation is sought; (8) a description of any special discovery needs of the

parties (e.g., videotape, telephone depositions, or problems with out-of-state witnesses or

documents, or discovery of) digital information. (See, L. Civ. R. 26(d)).

       Sanctions may be imposed pursuant to Fed. R. Civ. P. 16(f) if counsel or an

individual unrepresented by counsel either fails to appear at the conference or appears

unprepared. Each litigant attending the conference shall be fully familiar with the file,

and have full authority to bind their clients in all pretrial matters.


                                     /s/ Cathy L. Waldor
                                    CATHY L. WALDOR
                                    UNITED STATES MAGISTRATE JUDGE
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